        Case 1:14-ml-02570-RLY-TAB Document 19815 Filed 09/01/21 Page 1 of 1 PageID #:
                                         123195
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District
                                             __________  District of
                                                                  of Indiana
                                                                     __________


                        Lisa Riesebeck                         )
                             Plaintiff                         )
                                v.                             )     Case No. 1:14-ml-2570-RLY-TAB
              COOK INCORPORATED, et al.                        )
                            Defendant                          ) 7KLVGRFXPHQWUHODWHVWRFDVHQR 1:21-cv-06565-RLY-TAB

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Lisa Riesebeck                                                                                                .


Date:          09/01/2021                                                                /s/Basil E. Adham
                                                                                         Attorney’s signature


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